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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             Case No.: 1:19-cv-272-LCB-LPA

—————————————————
MAXWELL KADEL, et al.,                       )
                                             )
               Plaintiffs;                   )
v.                                           )
                                             )
DALE FOLWELL, in his official                )
capacity as State Treasurer of North         )
Carolina, et al,                             )
                                             )
      Defendants.                            )
—————————————————-

                                 Expert Witness Declaration of
                                    Paul R. McHugh, MD
                                  Baltimore, Maryland 21218

Knowledge Training and Experience :

       1.      Education and Training - Retention - Compensation : After graduating from

Phillips Academy, Andover, in 1948, I received an A.B. degree from Harvard College in 1952

and an MD degree from Harvard Medical School in 1956. I completed my medical internship at

the Peter Bent Brigham Hospital Boston, Massachusetts (1956-57) , my residency in neurology

at the Massachusetts General Hospital (1957-60) and a Neuropathology Fellowship at the

Massachusetts General Hospital (1958-59). I served as a Clinical Assistant in Psychiatry at the

Maudsley Hospital, London, England (1960-61) with additional training as a Member of the

Neuropsychiatry Division Walter Reed Army Institute of Research, Washington, D.C. (1961-64).

My professional background, experience, and publications are further detailed in the updated

copy of my curriculum vitae attached as Exhibit A to this declaration. I was retained as an expert




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in this case by Attorney John Knepper. I have reviewed the case Complaint and Answer and will

receive no compensation for my analysis-report-testimony in this matter.

       2.      Board Certifications, License History, and Practice of Medicine : I was

qualified in both Psychiatry and Neurology by the American Board of Psychiatry and Neurology.

National Board of Medical Examiners, Certified #35725; American Board of Psychiatry and

Neurology, Certified #9508 ; Massachusetts Registration #26021 ; New York Registration

#93799 ; Oregon Registration #8693 ; Maryland Registration #D-18666

       3.      Medical Staff and Faculty Appointments : I served as Asst. Professor, then

Associate Professor, then Full Professor of Psychiatry at Cornell University Medical College

(1964-1971). I also served as the Founder and First Director of Bourne Behavioral Research

Laboratory, Westchester Division of the New York Hospital, Department of Psychiatry, Cornell

Medical College (1967-68). I then served as Professor and Chairman: Department of Psychiatry

at the University of Oregon Health Sciences Center (1973-75). From 1975 to 2001, I served as

the Henry Phipps Professor of Psychiatry and the director of the Department of Psychiatry and

Behavioral Science at the Johns Hopkins University School of Medicine. During this time

period, I also served as the psychiatrist-in-chief at the Johns Hopkins Hospital and Professor in

Department of The Johns Hopkins School of Hygiene and Public Health, Mental Health (1975

- ). I also served as the Chairman of the Medical Board of the The Johns Hopkins Hospital,

1984-89. I continue to serve as the University Distinguished Service Professor of Psychiatry at

Johns Hopkins University School of Medicine (1998 - ).




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       4.      Publications and Editorial Work:      I have published many peer reviewed

articles in scientific journals. (See attached Curriculum Vitae). I have also published a number

of books including :

       Author:

       McHugh, P. R. (2006). Try to Remember: Psychiatry's Clash over Meaning, Memory, and

Mind. New York: DANA

       McHugh, P.R. (2008). The Mind Has Mountains: Reflections on Society and Psychiatry.

Baltimore, MD: Johns Hopkins University Press.

       Co-author:

       — Hedblom, J. H., & McHugh, P. R. (2007). Last Call: Alcoholism and Recovery

       — Fagan, P. J., & McHugh, P. R. Sexual Disorders: Perspectives on Diagnosis and

Treatment.

       — Neubauer, D. N., & McHugh, P. R. Understanding Sleeplessness: Perspectives on

Insomnia.

       — McHugh, P. R., & Slavney, P. R. (1998). The Perspectives of Psychiatry, 2nd ed.

Baltimore, Maryland: Johns Hopkins University Press.

       Editor:

       — McHugh, P. R., & McKusick. Eds. (1990). Genes, Brain, and Behavior.The

Perspectives of Psychiatry (1983 with Phillip R. Slavney)

       I also served as an Editor or Reviewer for the following Journals:

       Editorial Positions: 1. Associate Editor for the American Journal of Physiology:

Regulatory, Integrative and Comparative Physiology, 1982 - 1996; President, Association for




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Research in Nervous and Mental Disease (ARNMD), December 1989, “Genes, Brain and

Behavior”

       Editorial Boards: The Journal of Nervous and Mental Disease, Comprehensive

Psychiatry, Medicine, Psychological Medicine, The Johns Hopkins University Press,

International Review of Psychiatry, The American Scholar

       Book Service Editorial Boards: The Handbook of Psychiatry, Cambridge University

Press ; The Scientific Basis of Psychiatry, Cambridge University Press; Brill’s Studies in

Epistemology, Psychology and Psychiatry ; The Handbook of Behavioral Neurobiology; and

The Johns Hopkins Series in Contemporary Medicine and Public Health.

       5.      Awards : In 1992, I was elected to the Institute of Medicine (IOM) - National

Academies of Science (now known as the National Academy of Medicine). In 2001, I was

appointed by President George W. Bush to the President’s Council on Bioethics. I have received

a number of Fellowships including those from the American College of Physicians, the American

College of Psychiatrists, the American Psychiatric Association, and the Royal College of

Psychiatrists. Other awards include:

       William C. Menninger Award, American College of Physicians, 1987.
       The Distinguished Achievement Award, The New York Hospital-Cornell Med. Center,
Ctr. Alumni Council, 1988.
       The Johns Hopkins University Alumni Association Excellence in Teaching Award, 1992.
       Joseph Zubin Award of the American Psychopathological Association, 1995.
       Distinguished Service Award, The American College of Psychiatrists, 2002.
       Visiting Scholar, The Phi Beta Kappa Society, 2003-2004.
       Distinguished Life Fellow, American Psychiatric Association, 2003.
       Paul Hoch Award of the American Psychopathological Association , 2006.




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       Rhoda and Bernard Sarnat International Award in Mental Health of the Institute of
Medicine, 2008.
       Distinguished Career Award. Society for the Study of Ingestive Behavior, 2009.
       Doctor Honoris Causa. University of Zaragoza, Spain, 2012.
       6.      Research Grants : Principal Investigator for research grants from the National

Institutes of Health: A. Hormonal Studies in Depression. 1964 - 1968 ; B. Establishment of a

primate research resource. 1967 - 1970 ; C. Hypothalamic studies in endocrinology. 1970 -

1974 ; D. #R01AM18554 Hypothalamus in Feeding Behavior. 1975- 1985 ; E. #R01AM19302

Gastrointestinal Integration and Feeding. 1985-95. (Became Co Principal Investigator in 1989,

T.H. Moran became Principal Investigator). (See attached Curriculum Vitae).

       7.      Psychiatric Misadventures : In 1992, I published McHugh, P.R. Psychiatric

Misadventures. The American Scholar, 61:497-510, 1992. This essay was selected and reprinted

in The Best American Essays, 1993. ed. R. Atwan, Publisher, Ticknor & Fields, New York. An

important part of my career has been engaged in observing and warning the public and mental

health professions about Psychiatric Misadventures. I think this scientific, clinical, and health

care system history will be helpful to the court in the Kadel v. Folwell case.

      8.    The Psychiatric Misadventure of Lobotomies - a Tragic Psychiatric
Misadventure that Damaged Tens of Thousands of Patients, Robbing Them of Their
Emotions and Personality:

       A lobotomy, or leucotomy, is a form of psychosurgery, a neurosurgical treatment for

mental disorders that involves severing severing prefrontal cortex connections in the patient’s

brain. The peak of the lobotomy era was earlier than my training, teaching, and practice but I

learned much from the history of this bio-medical disaster. This “treatment” — received much

attention, endorsement, and even awards as neurologist Antonioa Egas Moniz, shared the Nobel




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Prize for Physiology or Medicine in 1949 for the "discovery of the therapeutic value of

leucotomy in certain psychoses”. By 1951, nearly 20,000 lobotomies had reportedly been

performed in the United States and proportionally more in the United Kingdom. British

psychiatrist Maurice Partridge, who conducted a follow-up study of 300 patients, reported that

the treatment achieved its effects by "reducing the complexity of psychic life". Following the

operation, “spontaneity, responsiveness, self-awareness, and self-control were reduced. The

activity was replaced by inertia, and people were left emotionally blunted and restricted in their

intellectual range.” Many of these patients were left with with severe and disabling impairments.

Proper informed consent was not obtained for these experimental “treatments”. Surgeon Walter

Freedman, who used the procedure widely, coined the term "surgically induced childhood" to

refer to the results of lobotomy. [See, e.g., Partridge, Maurice. Pre-frontal leucotomy:. Oxford:

Blackwell Scientific Publications; 1950.] Currently, the lobotomy era is viewed as an unethical

psychiatric misadventure and an assault on the rights, health, and personalities of vulnerable

patients. Like the infamous Tuskeegee research, and the horrific experiments of the Nazis and

Imperial Japan in WWII, lobotomies are a textbook example of why informed consent

protections are vital for patient safety and dignity.

       7.    Early Warnings about the Methodological Limitations of a Psychiatric
Dictionary — the Diagnostic and Statistical Manual of Mental Disorders (DSM) of the
American Psychiatric Association — a Psychiatric Misadventure of Assessment and
Diagnosis:

        In 1997, I testified in the Rhode Island vs. Quattrochi case Daubert hearing that the

Diagnostic and Statistical Manual of Mental Disorders of the American Psychiatric Association

(DSM) was essentially a dictionary based on consensus-seeking voting methodologies rather




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than evidence-seeking scientific methodologies. [ See, Grove, W. M. and Barden, R.C. (2000)

Protecting the Integrity of the Legal System : The Admissibility of Testimony from Mental

Health Experts Under Daubert/Kumho Analyses, Psychology, Public Policy and Law, Vol 5, No.

1, 234-242. ]   In 2012, I published an essay in The New England Journal of Medicine (with

co-author Phillip R. Slavney) seeking reforms to the Diagnostic and Statistical Manual of Mental

Disorders (DSM) of the American Psychiatric Association which was soon to be published in its

fifth edition. One of our main criticisms contended that the DSM used a top-down checklist

approach to diagnosis rather than a thorough bottom-up approach. We compared the DSM to a

field guide used by amateur birders to identify birds. It is important for legal professionals to

understand that the DSM was created using a consensual, political process of committees and

voting methodologies. Voting by committees is not a reliable-valid scientific, evidence-based

process. The DSM was thus not built using uniformly valid and reliable scientific processes. In

the DSM methodology, small groups of professionals, some with ideological or personal

agendas, would form committees and create diagnoses to be “voted” into the DSM. The field

has increasingly come to see the DSM as controversial and in need of reforms.

       The limitations of the DSM methodology are now well known leading to calls for

corrections from the relevant scientific community. See, e.g., Lee, C., The NIMH Withdraws

Support for DSM-5: The latest development is a humiliating blow to the APA. Psychology Today

News Blog at https://www.psychologytoday.com/us/blog/side-effects/201305/the-nimh-

withdraws-support-dsm-5 [“Just two weeks before DSM-5 is due to appear, the National Institute

of Mental Health, the world's largest funding agency for research into mental health, has

indicated that it is withdrawing support for the APA’s manual. In a humiliating blow to the




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American Psychiatric Association, Thomas R. Insel, M.D., Director of the NIMH, made clear the

agency would no longer fund research projects that rely exclusively on DSM criteria.

Henceforth, the NIMH, which had thrown its weight and funding behind earlier editions of the

manual, would be reorienting its research away from DSM categories.”] ; See, also U.S.

National Institute of Mental Health Director Thomas Insel on Transforming Diagnosis, April 29,

2013, See, https://www.nimh.nih.gov/about/directors/thomas-insel/blog/2013/transforming-

diagnosis.shtml “Unlike our definitions of ischemic heart disease, lymphoma, or AIDS, the

DSM diagnoses are based on a consensus about clusters of clinical symptoms, not any objective

laboratory measure. In the rest of medicine, this would be equivalent to creating diagnostic

systems based on the nature of chest pain or the quality of fever. Indeed, symptom-based

diagnosis, once common in other areas of medicine, has been largely replaced in the past half

century as we have understood that symptoms alone rarely indicate the best choice of treatment.

Patients with mental disorders deserve better. NIMH has launched the Research Domain Criteria

(RDoC) project to transform diagnosis by incorporating genetics, imaging, cognitive science, and

other levels of information to lay the foundation for a new classification system.”]   In my

opinion, the view that the DSM is insufficiently reliable and in need of methodological reforms

is generally accepted by the relevant scientific community.

       The unreliability of the DSM assessment process is important to understanding defects in

transgender treatment methodologies. Patients are diagnosed with a DSM checklist for “gender

dysphoria” and sent down a road towards potential sterility or other damages to normal, healthy

organs based solely on unverified patient reports and the DSM checklist process. This inherently




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unreliable process may explain in part why research in this field indicates an ongoing lack of

understanding of how to help these vulnerable, suffering patients.

        8.    Early Warnings to Protect Patients from the Predicted Iatrogenic Damages
of the “Repressed Memory Therapy” and “Multiple Personality Disorder” Industries — a
Psychiatric Misadventure that damaged tens of thousands of patients and families:

       In the early 1990s, I took the — very unpopular at the time — public position that

“repressed childhood memories of trauma” , “recovered memory therapy” (RMT), and “multiple

personality disorder” (MPD) were psychiatric misadventures employing unreliable, unscientific

notions and methods that posed dangers to patients and to the integrity of the mental health

system. See, McHugh, P.R., Psychiatric Misadventures, The American scholar, January 1993 ;

McHugh, P.R. Resolved: Multiple Personality Disorder is an Individually and Socially Created

Artifact. J. of the Amer. Academy of Child and Adolescent Psychiatry, 34:7 1995; McHugh, P.R.

Witches, multiple personalties, and other psychiatric artifacts. Nature Medicine, 1:2 110-114,

1995 ; and McHugh, P.R. Multiple Personality Disorder—A Socially Constructed Artifact. J. of

Practical Psychiatry and Behavioral Health, 1:3 158-166, 1995. By the end of the 1990s, after

many dozens of research studies, dozens of civil malpractice lawsuits against “recovered

memory” and “MPD” therapists, the closing of several RMT-MPD clinics, multiple media

exposes, and several licensing revocations of RMT-MPD industry leaders, these treatments

largely collapsed saving tens of thousands of patients and families from harm.

       It is now well documented that the RMT-MPD misadventure was perhaps the worst

disaster to befall the mental health system since lobotomies. See Pendergrast, M. (2017). The

repressed memory epidemic: How it happened and what we need to learn from it. New York, NY:

Springer ; See also, Barden RC: Reforming the Mental Health System: Coordinated,




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Multidisciplinary Actions Ended “Recovered Memory” Treatments and Brought Informed

Consent to Psychotherapy. Psychiatric Times. 2014;31(6): June 6, 2014. In sum, the field has

come to agree that the RMT-MPD industries were indeed another Psychiatric Misadventure.

      9.       Early Warnings have not been Used to Protect Patients from the Documented
Methodological Errors and Predicted Iatrogenic Damages of the Transgender Treatment
Industry - yet another Psychiatric Misadventure :

       Many years ago, our clinical experiences and research at Johns Hopkins led to the closing

of the transgender clinic. Research showed insufficient benefits for the risks involved in such

experimental, unproven treatments on vulnerable patients. Like lobotomies, the RMT-MPD

industries, and over-reliance on the DSM, the Transgender Treatment Industry is a Psychiatric

Misadventure based upon failures to apply proper scientific methodologies and patient

protections. The DSM, the RMT-MPD industries and the Transgender Treatment Industries are

all examples of failures to avoid confirmation bias, that is failures to properly generate and

rigorously test alternative hypotheses without regard for ideological preconceptions. The key

motivation of a psychiatrist and all physicians should be to develop, scientifically validate, and

then apply the very best and most effective treatments to relieve the suffering of patients — not

rapidly apply untested but “politically correct” treatments.

        In recent years, this controversial field has faced increasing scrutiny as national research

reviews in England, Sweden, and Finland as well a Cochrane Review and studies by multiple

researchers have concluded that the evidentiary base for these experimental treatments is weak

and demonstrates few benefits or actually shows this procedures can cause more harm than good.

The rapid expansion in the number of patients and the rapid demographic shift in patients

demonstrate how little we know about these troubles. Faced with overwhelming life problems




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and chronic psychiatric illness, some patients seek a simple solution for their suffering. Whether

its “recovered memories”, “multiple personalities” or “transgender transitioning” such patient

can pin their hopes upon this newly ascribed solution to complex life problems. This enormous

increase in cases in the US and Europe cannot be explained and was not predicted by the

movement’s genetic, biological, “brain structure” or “immutable” theories of the etiology of

gender discordance.

       In contrast, the exponential growth in patients was indeed predicted and is readily

explained by a social contagion theory — the same process by which adopting repressed

memories and multiple personalities came to damage so many tens of thousands of lives. See,

Hruz, PW, Mayer, LS, and McHugh, PR, "Growing Pains: Problems with Puberty Suppression in

Treating Gender Dysphoria," The New Atlantis, Number 52, Spring 2017 pp. 3 -36; See also,

Van Mol, A., Laidlaw, M. K., Grossman, M., McHugh, P. , Gender-Affirmation Surgery

Conclusion Lacks Evidence, Am J Psychiatry 177:8, August 2020 ajp.psychiatryonline.org 765.

      10.    The Transgender Treatment Industry Has Come Under Increasing Criticism
In Recent Years as Methodological Errors and Systemic Failures have been publicly aired
and debated including: (See Detailed Notes and Research-Review Citations attached).

               A)      Current transgender theories failed to predict the widely reported

exponential increase in cases (i.e. this is clearly not due to genetics, “brain structures”, or

“immutability”… social contagion seems more likely).

               B)      Current transgender theories failed to predict the rapid and unusual

changes in patient demographics (from young boys with early onset-chronic dysphoria to

adolescent females with rapid onset of gender dysphoria symptoms.




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                  C)      The Transgender Treatment Industry has failed to conduct competent

randomized clinical trials to assess the safety and effectiveness of treatments despite offering

“treatments” for 50 years.

                  D)      The Transgender Treatment Industry has failed to conduct competent,

rigorous long-term treatment outcome research despite having 50 years to do so.

                  E)      The Transgender Treatment Industry has failed to conduct competent

research on the social contagion theory in an attempt to understand the rapid increase in patients

and demographic shift — in fact, they tried to suppress such research. This is true even though

psychiatry has known for many years that some psychiatric disorders can be influenced by the

peer group dynamics of adolescent girls. (e.g., eating disorders).     See, e.g. L. Littman

(2018), Parent Reports of Adolescents & Young Adults Perceived to Show Signs of a Rapid

Onset of Gender Dysphoria, PLoS ONE 13(8): e0202330.

                  F)      The Transgender Treatment Industry has failed to properly and fully

inform patients and the public of the serious risks, dangers, controversies, and methodological

shortcomings of the current experimental treatments offered.

                  G)      The Transgender Treatment Industry has tragically failed to acknowledge

and properly learn from and adapt to the valid criticisms. The industry has yet to admit and

advance beyond its scientific and clinician flaws, errors, and mistakes. Until it does, it will

continue on as an example of a Psychiatric Misadventure.

        11.       SUMMARY OPINIONS:             It is my opinion, to a reasonable degree of medical

certainty that:




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      — There are currently no long-term, peer-reviewed published, reliable and valid, research

studies documenting the number or percentage of patients receiving gender affirming medical

interventions who are helped by such procedures.

      — There are no long-term, peer-reviewed published, reliable and valid, research studies

documenting the number or percentage of patients receiving gender affirming medical

interventions who are injured or harmed by such procedures.

      — There are no long-term, peer-reviewed published, reliable and valid, research studies

documenting the reliability and validity of assessing gender identity by relying solely upon the

unverified statements of a patient.

      — A currently unknown number (but likely larger than 50% ) of patients reporting gender

dysphoria suffer from psychiatric illness(es) that can complicate and may distort their judgments

and perceptions of gender identity.

      — A currently unknown percentage and number of patients — many of them adolescent

females — reporting gender dysphoria have been heavily influenced and/or manipulated by a

source of social contagion — peer group, social media, YouTube influencers, therapists, and/or

parents. Detailed psycho-social investigations of such patients — sometimes over a period of

years — may be necessary to better understand the psychiatric-psychological-and neurological

complexities of reported gender discordance.

      — Patients suffering from gender dysphoria or related issues have a right to be protected

from experimental, potentially harmful treatments lacking reliable and valid, peer reviewed,

published, long-term scientific evidence of safety and effectiveness.




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      — Multiple research studies have shown that a large percentage of children (over 80% in

some studies) who initially reported gender discordance will, if simply left alone, develop a

natural acceptance of their natal (biological) sex. Halting this natural healing process with

hormones or surgery — when there are no reliable ways to predict which children will heal on

their own — is an improper and experimental process that will produce lasting damage to many

children.

      — Medical treatments may differ significantly by sex according to chromosomal

assessment but not by gender identity. Misinforming physicians of a patient’s biological sex can

have deleterious effects on treatment for a variety of medical conditions.

      — Affirmation (“transgender transitioning”) medical treatments — hormones and surgery

— for gender dysphoria and “transitioning” remain unproven and have thus not been accepted

by the relevant scientific communities (biology, genetics, neonatolgy, medicine, psychiatry,

psychology, etc).

      — Affirmation (“transgender transitioning”) medical treatments — hormones and surgery

— for gender dysphoria and “transitioning” remain unproven and poorly researched and thus

have no known, peer reviewed and published error rates — these treatments methods lack

demonstrated, reliable and valid error rates.

      — Professional and political associations WPATH, the American Medical Association, the

American Academy of Pediatrics, the American Endocrine Society, etc. are not the relevant

scientific community, they are organizations that rely upon consensus-seeking methodologies

including voting rather than careful, prudent, evidence-based, Popperian-testable scientific

methodologies.




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      12.   LIMITATIONS ON EXPERT WITNESS REPORTS: - RETENTION -

COMPENSATION: My opinions and hypotheses in this matter are — as all expert reports —

subject to the limitations of documentary and related evidence, the impossibility of absolute

predictions, as well as the limitations of social, biological, and medical science. I have not met

with, nor personally interviewed, anyone in this case. As always, I have no expert opinions

regarding the veracity of witnesses in this case. I have not yet reviewed all of the evidence in

this case and my opinions are subject to change at any time as new information becomes

available to me. Only the trier of fact can determine the credibility of witnesses and how

scientific research may or may not be related to the specific facts of any particular case. In my

opinion, a key role of an expert witness is to help the court, lawyers, parties, and the public

understand and apply reliable scientific, technical, and investigative principles, hypotheses,

methods, and information. I have transmitted this confidential expert report directly to Attorney

John Knepper (john@knepperllc.com) for distribution as consistent with the laws of the

appropriate jurisdiction for this case.



      Pursuant to 28 U.S.C § 1746, I declare under penalty of perjury under the laws of the

United States of America that my foregoing report in the Kadel v. Folwell case is true and

correct.



Signed: ____________________________ Date:            ________________
          Paul R. McHugh, MD




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                                        Exhibit A

                                     Curriculum Vitae

                                PAUL R. McHUGH, M.D.


Home address:                      3707 St. Paul Street
                                   Baltimore, Maryland 21218

Born:                              May 21, 1931

Place of Birth:                    Lawrence, Massachusetts

Marital Status:                    Married: Wife’s name Jean, 3 children

Schooling:                         Phillips Academy, Andover, 1948
                                   Harvard College, A.B., 1952
                                   Harvard Medical School, M.D., 1956

Medical Internship:                Peter Bent Brigham Hospital
                                   Boston, Massachusetts (1956-57)

Neurology Residency:               Massachusetts General Hospital (1957-60)

Neuropathology Fellow:             Massachusetts General Hospital (1958-59)

Teaching Fellow in Neurology
and Neuropathology:                Harvard Medical School (1957-60)

Clinical Assistant in
Psychiatry:                        Maudsley Hospital, London, England (1960-61)

Member Neuropsychiatry             Walter Reed Army Institute of Research, Washington,
Division:                          D.C. (1961-64)

Assistant Professor of
Psychiatry and of Neurology:       Cornell University Medical College (1964-68)

Associate Professor of
Psychiatry and of Neurology:       Cornell University Medical College (1968-71)

Professor of Psychiatry and
of Neurology:                      Cornell University Medical College (1971)

Director of Electroencephalo-
graphy:                            The New York Hospital (1964-68)




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Founder and First Director:           Bourne Behavioral Research Laboratory, Westchester
                                      Division of the New York Hospital, Department of
                                      Psychiatry, Cornell Medical College (1967-68)

Clinical Director and                 Westchester Division of the New York
Supervisor of Psychiatric             Hospital, Department of Psychiatry (1968-73)
Education:

Professor and Chairman:               Department of Psychiatry
                                      University of Oregon Health Sciences Center (1973-75)

Henry Phipps Professor of             Department of Psychiatry and
Psychiatry and Director:              Behavioral Sciences, The Johns Hopkins University School
                                      of Medicine, 1975 - 2001

Psychiatrist-in-Chief:                The Johns Hopkins Hospital, 1975 - 2001

Professor in Department of            The Johns Hopkins School of Hygiene and Public Health,
Mental Health:                        1975 -

Director: Blades Center for           The Johns Hopkins Medical Institutions, 1992 -2001
Clinical Practice and Research
in Alcoholism

University Distinguished Service      The Johns Hopkins University, 1998 -
Professor of Psychiatry


Qualified in both Psychiatry and Neurology by the American Board of Psychiatry and
   Neurology.
National Board of Medical Examiners, Certified #35725
American Board of Psychiatry and Neurology, Certified #9508
Massachusetts Registration #26021
New York Registration #93799
Oregon Registration #8693
Maryland Registration #D-18666

Selective Administrative Responsibilities

Chairman of the Associate             The Johns Hopkins University School of Medicine, 1978-84
Professor Promotions Committee:

Chairman of the Medical Board:        The Johns Hopkins Hospital, 1984-89




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Chairman of the Professorial    The Johns Hopkins University School of
Promotions Committee:           Medicine, 1985 - 1991

Member of Management Advisory
Committee:                      The Johns Hopkins Health System, 1989 - 1996

Board of Trustees/Advisors:     The Kennedy Krieger Research Institute, Inc., 1993 - 2001
                                The Johns Hopkins Hospital (ex-officio), 1984 – 1989
                                Association for Research in Nervous and Mental
                                  Disease, 1987 -
                                The College of Notre Dame of Maryland, 1999 – 2005
                                False Memory Syndrome Foundation, 1993 –
                                President, Johns Hopkins Chapter, Phi Beta Kappa,
                                  2001 - 2002
                                President’s Council on Bioethics, 2001 – 2008
                                United States Conference of Catholic Bishops National
                                  Review Board, 2002 - 2007
Fellowships:                    American College of Physicians
                                American College of Psychiatrists
                                American Psychiatric Association
                                Royal College of Psychiatrists

Memberships:                    Alpha Omega Alpha
                                American Academy of Clinical Psychiatrists
                                American Association of Chairmen of Departments
                                  of Psychiatry
                                American College of Neuropsychopharmacology
                                American Medical Association
                                American Neurological Association
                                American Physiological Society
                                Association for Research in Nervous and Mental Disease
                                Baltimore City Medical Society
                                Eastern Psychological Association
                                Harvey Society
                                International Society of Psychoneuroendocrinology
                                Maryland Psychiatric Society
                                Medical and Chirurgical Faculty of the State of Maryland
                                New York Academy of Sciences
                                Order of Malta
                                Phi Beta Kappa
                                The Pavlovian Society
                                The Peripatetic Club
                                Sigma XI
                                Society of Biological Psychiatry
                                Society for Neuroscience




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Research Advisory Groups:        Bio-Psychology Study Section, NIH, 1985 - 86
                                 Chairman, Bio-Psychology Study Section, 1986 - 89
                                 American Federation for Aging Research (AFAR)
                                 Scientific Council of NARSAD (National Alliance for
                                  Research on Schizophrenia and Depression, 1986 -
                                 Scientific and Professional Advisory Board of FMS
                                  (False Memory Syndrome) Foundation, 1992 -
                                 Co-Chairman, Ethics Committee of American College of
                                  Neuropsychopharmacology (ACNP), 2001 - 2003

Editorial Positions:             1. Associate Editor
                                    American Journal of Physiology
                                    Regulatory, Integrative and Comparative
                                    Physiology, 1982 - 1996

                                 2. President, Association for Research in Nervous and
                                    Mental Disease (ARNMD), December 1989, “Genes,
                                    Brain and Behavior”

Editorial Boards:                The Journal of Nervous and Mental Disease
                                 Comprehensive Psychiatry
                                 Medicine
                                 Psychological Medicine
                                 The Johns Hopkins University Press
                                 International Review of Psychiatry
                                 The American Scholar

Book Service Editorial Boards:   The Handbook of Psychiatry, Cambridge University Press

                                 The Scientific Basis of Psychiatry, Cambridge
                                 University Press

                                 Brill’s Studies in Epistemology, Psychology
                                 and Psychiatry

                                 Handbook of Behavioral Neurobiology

                                 The Johns Hopkins Series in Contemporary
                                 Medicine and Public Health

Grants:                          Principal Investigator from the United States Public Health
                                 Service, N.I.H. Training:
                                 1. NIH Clinical Traineeship 1960 - 1963
                                 2. Interdisciplinary Training Program in Psychiatry and
                                    Neuroscience (Director) 1990 – 1996




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                             Principal Investigator for research grants from the National
                             Institutes of Health:

                             1. Hormonal Studies in Depression. 1964 - 1968
                             2. Establishment of a primate research resource. 1967 - 1970
                             3. Hypothalamic studies in endocrinology. 1970 - 1974
                             4. #R01AM18554 Hypothalamus in Feeding Behavior. 1975-
                                 1985.
                             5. #R01AM19302 Gastrointestinal Integration and Feeding.
                                 1985-95. (Became Co-Principal Investigator in 1989,
                                 T.H. Moran became Principal Investigator).

Awards and Honors:           William C. Menninger Award, Amer. College of Physicians,
                             1987.

                             The Distinguished Achievement Award, The New York
                             Hospital-Cornell Med. Center, Ctr. Alumni Council, 1988.

                             Member, Institute of Medicine, National Academy of
                             Sciences,1992.

                             The Johns Hopkins University Alumni             Association
                             Excellence in Teaching Award, 1992.

                             Joseph Zubin Award of the American Psychopathological
                             Association, 1995.
                             Distinguished Service Award, The American College of
                             Psychiatrists, 2002.

                             Visiting Scholar, The Phi Beta Kappa Society, 2003-2004.

                             Distinguished Life      Fellow,     American     Psychiatric
                             Association, 2003.

                             Paul Hoch Award of the American Psychopathological
                             Association , 2006.

                             Rhoda and Bernard Sarnat International Award in Mental
                             Health of the Institute of Medicine, 2008.

                             Distinguished Career Award.       Society for the Study of
                             Ingestive Behavior, 2009.

                             Doctor Honoris Causa. University of Zaragoza, Spain, 2012.




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Representative Sample        Distinguished Guest Lecturer at the Annual
of Invited Lectures:         Meeting of The Royal College of Psychiatrists, London,
                             England, July 5, 1978.

                             The Charles Getz, M.D. Memorial Lecture, The University of
                             Maryland, School of Medicine, Baltimore, MD, March 6,
                             1979.

                             Dean’s Lecture, The Johns Hopkins Medical Institutions
                             Baltimore, MD, November 13, 1978.

                             Phineas J. Sparer Distinguished Visiting Professor,
                             University of Tennessee, Memphis, TN, May 16, 1984.

                             Eastern Psychological Association Annual Meeting, New
                             York, April 25, 1986.
                             Litchfield Lecturer, Univ. of Oxford, Oxford, England, June
                             1986.
                             Chairman, Symposium on Role of the Stomach in
                             Regulation of Satiety. FASEB, Washington, D.C., March
                             31, 1987.

                             Telford Lecturer, Washington and         Lee    University,
                             Lexington, Virginia, April 28, 1988.

                             Harvey Shein Memorial Lecturer. American Association of
                             Directors of Psychiatric Residency Training, New Orleans,
                             Louisiana, January 13, 1990.

                             Robert O. Jones Memorial Lecturer. Dalhousie University
                             Medical School, Halifax, Nova Scotia, Canada, March 23,
                             1990.

                             Hasenbush Visiting Professor, Massachusetts Mental Health
                             Center, Harvard Medical School, Boston, Mass., January 30,
                             1991.

                             Mapother Lecturer, Maudsley Hospital, Institute          of
                             Psychiatry, London, England, November 4, 1992.

                             William Paley Lecturer, Department of Medicine, Cornell
                             Medical College, New York Hospital, February 4, 1993.



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                               Theodore E. Woodward Lecturer, University of Maryland,
                               April 15, 1993.

                               Sister Virgina Geiger Lecturer, College of Notre Dame of
                               Maryland, Baltimore, Maryland, May 9, 1995.

                               Phi Beta Kappa Address, Washington & Lee University,
                               Virginia, March 7, 1996.

                               Biele Lecturer, Thomas Jefferson University, Philadelphia,
                               Pennsylvania, April 10, 1996.

                               Weniger Lecturer, University of Pittsburgh Medical Center,
                               Pittsburgh, Pennsylvania, April 26, 1996.

                               Taylor Lecturer in Neuropsychiatry, University of Maryland
                               School of Medicine, Baltimore, Maryland, April 24, 1997.

                               Tumulty Lecturer, Johns Hopkins University School of
                               Medicine, Baltimore, Maryland, May 14, 1997.

                               Mendelsohn Lecturer, New England Medical Center, Boston,
                               Massachusetts, April 16, 1998.

                               Denny Brown Lecturer, Beth Israel Deaconess Hospital,
                               Boston, Massachusetts, May 18, 2000.

                               Raymond D. Adams Honorary Lecture, Massachusetts
                               General Hospital, Boston, Massachusetts, June 8, 2000.

                               Distinguished Psychiatrist Lecture, American Psychiatric
                               Association, May 7, 2001.

PUBLICATIONS:

Books:

      1.    McHugh, P.R. and Slavney, P.R.: The Perspectives of Psychiatry, The Johns
                 Hopkins University Press, Baltimore, MD, 1983.

            a. McHugh, P.R. and Slavney, P.R.:   Perspectives de la Psiquiatria, Masson,
                  Barcelona, Spain, 1985.




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             b. McHugh, P.R. and Slavney, P.R.: Psychiatriche Perspektiven, Springer-Verlag
                   Berlin Heidelberg, Germany, 1984.

             c. McHugh, P.R. and Slavney, P.R.: Les Perspectives de la Psychiatrie, Masson,
                   Paris, France., 1986.

             d. McHugh, P.R. and Slavney, P.R.: As Perspectivas da Psiquiatria, Artes Medicas,
                   Porto Alegre, Brazil, 1988.


      2.     Slavney, P.R. and McHugh, P.R.: Psychiatric Polarities.      The Johns Hopkins
                    University Press, Baltimore, MD, 1987.

      3.     McHugh, P.R. and McKusick, V.A. (eds): Genes, Brain and Behavior. Assoc. Res.
                  Nerv. Ment. Dis., Vol. 69, Raven Press, New York, 1990.

      4.     McHugh, P.R. and Slavney, P.R.: The Perspectives of Psychiatry, 2nd Edition,
              The Johns Hopkins University Press, Baltimore, MD, 1998.

      5.     McHugh, P.R.: The Mind Has Mountains: Reflections on Society and Psychiatry.
           The Johns Hopkins University Press, Baltimore, MD, 2006.

      6.     McHugh, P.R.: Try to Remember: Psychiatry’s Clash Over Meaning, Memory,
             and Mind. Dana Press, 2008.


Papers:

      1.     Gibbons, J.L. and McHugh, P.R.: Plasma Cortisol in Depressive Illness.         J.
                   Psychiatr. Res., 1: 162, 1962.

      2.     Hays, R., McHugh, P.R., and Williams, H.: Absence of Thirst in Hydro-cephalus.
                    New Engl. J. Med., 269: 277, 1963.

      3.     McHugh, P.R.: Occult Hydrocephalus. Quart. J. Med., 33: 297-308, 1964.

      4.     McHugh, P.R. and Smith, G.P.: Central Nervous System Control of Adreno-cortical
                  Secretion. Symposium on Medical Aspects of Stress in the Military Climate.
                   Walter Reed Army Institute of Research, 421-429, April 1964.

      5.     Smith, G.P., Boren, J. and McHugh, P.R.: Gastric Secretory Response to Acute
                    Environmental Stress. Symposium on Medical Aspects of Stress in the
                    Military Climate. Walter Reed Army Institute of Research, 353-365,
                    April 1964.

      6.     McHugh, P.R., Black, W.C. and Mason, J.M.: Some Hormonal Responses to



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                   Electrical Self Stimulation in the Macaca Mulatta. Am. J. Physiol., 210:
                   109-113, 1966.

      7.    McHugh, P.R.: Hydrocephalic Dementia. Bull. N.Y. Acad. Med., 42:907-917,
                 1966.

      8.    McHugh, P.R. and Smith, G.P.: The Plasma 17-OH-CS Response to Amygdaloid
                 Stimulations With and Without After-Discharges. Am. J. Physiol., 212:
                 619-622, 1967.

      9.    McHugh, P.R. and Smith, G.P.: Negative Feedback in Adrenocortical response to
                 limbic stimulation in Macaca Mulatta. Am. J. Physiol., 213: 1445-1450,
                 1967.

      10.   Smith, G.P. and McHugh, P.R.: Gastric Secretory Response to Amygdaloid or
                   Hypothalamic Stimulation in Monkeys. Am. J. Physiol., 213: 640-644,
                   1967.

      11.   Reis, D.J. and McHugh, P.R.: Hypoxia as a Cause of Bradycardia During
                   Amygdala Stimulation in Monkey. Am. J. Physiol., 214: 601-610, 1968.

      12.   McHugh, P.R.: Hypothalamic Controls in Feeding Behavior as Revealed by
                 “Disconnection” Method. In: Transactions of the American Neurological
                 Association, 95: 100-103, 1970.

      13.   McHugh, P.R. and Goodell, H.: Behavior of Patients with Sedative Poisoning
                 Seen in a General Hospital. Archives of General Psychiatry, 25: 256-264,
                 1971.

      14.   Andersen, A. and McHugh, P.R.:         Oat Carcinoma with Hyperadrenalism
                  Manifesting Itself as a Suicide Attempt. Journal of Nervous and Mental
                  Disease, 152: 6, 1971.

      15.   McHugh, P.R. and Gibbs, J.: Aspects of Subcortical Organization of Feeding
                 Revealed by Hypothalamic Disconnections in Macaca Mulatta. Brain, 95:
                 279-293, 1972.

      16.   Folstein, M., Folstein, S., and McHugh, P.R.: Clinical Predictors of Improvement
                    After Electroconvulsive Therapy of Patients with Schizophrenia, Neurotic
                    Reactions, and Affective Disorders. Biological Psychiatry, 7: 147-152,
                    1973.

      17.   Slavney, P.R. and McHugh, P.R.: The Hysterical Personality: A Controlled Study.
                   Archives of General Psychiatry, 30: 325-329, 1974.

      18.   Luria, R. and McHugh, P.R.: The Reliability and Clinical Utility of the Present



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                    State Examination. Archives of General Psychiatry, 30: 866-871, 1974.

      19.    Sovner, R. and McHugh, P.R.: Lithium Treatment in Periodic Catatonia. The
                    Journal of Nervous and Mental Disease, 158: 214-221, 1974.

      20.    Breakey, W.R., Goodell, H., Lorenz, P.L. and McHugh, P.R.: Hallucinogenic Drugs
                   as Precipitants of Schizophrenia. Psychol. Med., 4: 255-261, 1974.

      21.    Robinson, R.G., McHugh, P.R. and Folstein, M.F.: Measurement of Appetite
                   Disturbances in Psychiatric Disorders. J. Psychiat. Res., 12: 59-68, 1975.

      22.    Slavney, P.R. and McHugh, P.R.: The Hysterical Personality: An Attempt at
                    Validation with the MMPI. Archives of General Psychiatry, 32: 186-190,
                    1975.

      23.    McHugh, P.R. and Folstein, M.F.: Psychiatric Syndromes of Huntington’s Chorea:
                  A Clinical and Phenomenological Study. Seminars in Psychiatry. In
                  Psychiatric Aspects of Neurologic Disease. D. Frank Benson, M.D. and
                  Dietrich Blumer, M.D., Ed. Grune & Stratton, New York, pp. 267-286,
                  1975.

      24.    Von Greif, H., McHugh, P.R., and Stokes, P.: The Familial History in Sixteen
                   Males with Bipolar Manic-Depressive Illness. In Genetic Research in
                   Psychiatry. R.R. Fieve, D. Rosenthal, and H. Brill, Ed. The Johns Hopkins
                   University Press, 233-239, 1975.

      25. Folstein, M., Folstein, S., and McHugh, P.R.: “Mini-Mental State”: A Practical Method
          for Grading the Cognitive State of Patients for the Clinician. Journal of Psychiatric
          Research, 12: 189-198, 1975. [CITATION CLASSIC, 1989].

      26.    Robinson, R.G., McHugh, P.R. and Bloom, F.E.: Chlorpromazine Induced
                   Hyperphagia in the Rat. Psychopharmacology Communications, 1: 37-50,
                   1975.

      27.    Sovner, R. and McHugh, P.R.: Bipolar Course in Schizoaffective Illness. Biological
                    Psychiatry, 11: 195-204, 1976.

      28.    McHugh, P.R., Gibbs, J., Falasco, J.D., Moran, T. and Smith, G.P.: Inhibitions of
                  Feeding Examined in Rhesus Monkeys with Hypothalamic Disconnections.
                  Brain, 98: 441-454, 1975.

      29.    Gibbs, J., Falasco, J. and McHugh, P.R.: Cholecystokinin Decreases Feeding in
                    Rhesus Monkeys. Am. J. Physiol., 230: 15-18, 1976.

      30.    McHugh, P.R., Moran, T.H. and Barton, C.N.: Satiety: A Graded Behavioral
                  Phenomenon Regulating Caloric Intake. Science, 190: 167-169, 1975.



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                    Hypothalamic Hyperphagia. In: Anorexia Nervosa, R. Vigersky, Ed.
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                      and Symptomatic Mania. Biol. Psychiat., 12: 697-700, 1977.

      33.      McHugh, P.R., Moran, T.H.: The Accuracy of the Regulation of Caloric Ingestion
                    in the Rhesus Monkey: Caloric Regulation in Rhesus Monkeys. Am. J.
                    Physiol., 235: R29-34, 1978.

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                       Complication of Stroke.       Journal of Neurology, Neurosurgery and
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      35.      Folstein, M.F. and McHugh, P.R.: Defective Long Term Caloric Regulation in
                       Obesity. NIDA Research Monograph Studies, 20: 182-188, 1978.

      36.      McHugh, P.R. and Folstein, M.F.: Psychopathology of Dementia: Implications for
                    Neuropathology: Res. Publ. Assoc. Res. Nerv. Ment. Dis. 57: 17-30,
                     1978

      37       Folstein, M.F. and McHugh, P.R. Dementia Syndrome of Depression
                      in Alzheimer’s disease.  In Senile Dementia and Related
                     Disorders. Katzman, R. et al., Eds., New York: Raven Press,
                     pp. 87-96, 1978.

      38.      Robinson, R.G., Folstein, M.F. and McHugh, P.R. Reduced Caloric Intake
               Following Small Bowel Bypass Surgery: A Systematic Study of Possible
           Causes. Psychol. Med., 9: 37-53, 1979.


      39.      McHugh, P.R.: Aspects of the Control of Feeding: Application of Quantification in
                    Psychobiology. The Johns Hopkins Medical Journal, 144: 147-155, 1979.

      40.      McHugh, P.R., Moran, T.H.: Calories and Gastric Emptying: A Regulatory
                    Capacity with Implications for Feeding. American Journal of Physiology,
                    236: R254-R260, 1979.

      41.      Folstein, S.E., Folstein, M.F., McHugh, P.R.:       Psychiatric Syndromes in
                       Huntington’s Disease. Advances in Neurology, 23: 281-289, Raven Press,
                       New York, 1979.

      42.      Robinson, R.G., Folstein, M.F., Simonson, M., McHugh, P.R.: Differential
                     Antianxiety Response to Caloric Intake Between Normal and Obese




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                    Subjects. Psychosomatic Medicine, 42: 415-427, 1980.

      43.    Moran, T.H., McHugh, P.R.: Distinctions Amongst Three Sugars in Their Effects
                   on Gastric Emptying and Satiety. American Journal of Physiology, 241:
                   R25-R30, 1981.

      44.    Rabins, P.V., Tune, L.E., McHugh, P.R.: Tardive Dyskinesia. The Johns Hopkins
                    Medical Journal, 148: 206-211, 1981.

      45.    Tune, L.E., McHugh, P.R., Coyle, J.T.: Management of Extrapyramidal Side
                   Effects Induced by Neuroleptics. The Johns Hopkins Medical Journal,
                   148: 149-153, 1981.

      46. Pearlson, G.D., Veroff, A.E., McHugh, P.R.: The Use of Computed Tomography in
                     Psychiatry: Recent Applications to Schizophrenia, Manic-depressive Illness
                     and Dementia Syndrome. The Johns Hopkins Medical Journal, 149: 194-
                     202, 1981.

      47.    Tune, L.E., McHugh, P.R., Coyle, J.T.:        Drug Management in Chronic
              Schizophrenia. The Johns Hopkins Medical Journal, 150: 45-48, 1982.

      48.    Moran, T.H., McHugh, P.R.: Cholecystokinin Suppresses Food Intake by Inhibiting
                    Gastric Emptying. American Journal of Physiology, 242: R491-R497,
                    1982.

      49.    McHugh, P.R., Slavney, P.R.: Methods of Reasoning in Psychopathology: Conflict
                  and Resolution. Comprehensive Psychiatry, 23: 197-215, 1982.

      50.    Tune, L.E., Folstein, M., Rabins, P., Jayaram, G., McHugh, P.R.: Familial
                   Parkinson’s Disease: A Case Report. The Johns Hopkins Medical
                   Journal, 151: 65-70, 1982.

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                  Emptying in Rhesus Monkeys. American Journal of Physiology, 243:
                  R403-R415, 1982.

      52.    Hunt, J.N., McHugh, P.R.: Does Calcium Mediate the Slowing of Gastric Emptying
                     in Primates? American Journal of Physiology, 243: G200-G203, 1982.

      53.    Brener, W., Hendrix, T.R., McHugh, P.R.: Regulation of the Gastric Emptying of
                    Glucose. Gastroenterology, 85: 76-82, 1983.

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                    Rhesus Monkey. American Journal of Physiology, 245: R174-R180,
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      55.    McHugh, P.R., Robinson, R.G.:          The Two Way Trade—Psychiatry and
              Neuroscience. The British Journal of Psychiatry, 143: 303-305, 1983.

      56.   McHugh, P.R.: The Control of Gastric Emptying. Journal of Autonomic Nervous
                 System, 9: 221-231, 1983.

      57.   Slavney, P.R., McHugh, P.R.: Life Stories and Meaningful Connections Reflections
                   on a Clinical Method in Psychiatry and Medicine. Perspectives in Biology
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      58.   Smith, G.T., Moran, T.H., Coyle, J.T., Kuhar, M.J., O’Donahue, T.L. and McHugh,
                   P.R.: Anatomic Localization of Cholecystokinin Receptors to the Pyloric
                   Sphincter. American Journal of Physiology, 246: R127-R130, 1984.

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                 Satiety. Progress in Psychobiology and Physiological Psychology, 11: 197-
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      60.   McHugh, P.R. Commentary on Charles Hanly’s “Logical and Conceptual Problems
                 of Existential Psychiatry”. The Journal of Nervous and Mental Disease,
                 173: 278, 1985.

      61.   Slavney, P.R., McHugh, P.R.: The Life-Story Method in Psychotherapy and
                   Psychiatric Education: The Development of Confidence. American Journal
                   of Psychotherapy, 39: 57-67, 1985.

      62.   Moran, T.H., Robinson, P.H., McHugh, P.R.: The Pyloric Cholecystokinin
                  Receptor: A Site of Mediation for Satiety. Annals of the New York
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                  Neonatal Rat. Annals of the New York Academy of Science, 448: 627-629,
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                    Depressed Patients. Journal of Affective Disorders, Supplement 1: S11-
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                   Symptoms. Weissnauer Symposium, Basisstadien endogener Psychosen und
                   das Borderline-Problem. Ed. G. Huber, Schattauer, Stuttgart-New York,
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                    Kramer, M., Anthony, J., Gruenberg, E., McHugh, P.R.: Brief Report on the



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                   Clinical Reappraisal of the Diagnostic Interview Schedule Carried Out at the
                   Johns Hopkins Site of the Epidemiological Catchment Area Program of the
                   NIMH. Psychological Medicine, 15: 809-814, 1985.

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                  Cholecystokinin Receptors: Implications for Behavioral Actions. Brain
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                 Chemical Senses with Nutrition. Ed. M.B. Kare, Academic Press, 167-
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                   Falsifiable? Behavioral and Brain Sciences, 9: 250-252, 1986.

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                  Feeding by Fenfluramine. American Journal of Physiology, 250: R764-
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                 Intraintestinal Infusion of Glucose: Is This Satiety? Brain Research
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                 During Adolf Meyer’s Tenure as Director of The Henry Phipps Psychiatric
                 Clinic, 1913-1940”. The Journal of Nervous and Mental Disease, 174: 752-
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      74.   Moran, T.H., Smith, G.P., Hostetler, A.M., McHugh, P.R.: Transport of
                  Cholecystokinin (CCK) Binding Sites in Subdiaphragmatic Vagal Branches.
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